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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS


BUZZ PHOTOS
2414 W University, Suite 115D
McKinney, TX 75071

and

FREEDOM WATCH, INC.
2020 Pennsylvania Ave., Suite 345
Washington, D.C. 20006

and

LARRY KLAYMAN, a natural person

and

Members of the Class and Subclasses and
those Similarly Situated

                      Plaintiffs,

               v.                                 Civil Action No. 3:20-cv-00656-K

THE PEOPLE’S REPUBLIC OF CHINA

and

THE PEOPLE’S LIBERATION ARMY
The official military of China

and

THE WUHAN INSTITUTE OF VIROLOGY
an agency of the Government of China

and

SHI ZHENGLI,
Director of the Wuhan Institute of Virology

and




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 MAJOR GENERAL CHEN WEI
 Of China’s People’s Liberation Army


                        Defendants.


  SWORN DECLARATION CONCERNING DEFENDANTS’ REFUSAL TO BE DULY
                  SERVED WITH THE COMPLAINT

       I, Dina James, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury that

the following is true and correct:

       1.      I am over the age of eighteen (18) years old and mentally and legally competent

to make this Declaration.

       2.      I am a paralegal employed by Freedom Watch, Inc., a plaintiff in this case.

       3.      I have been in contact with this Clerk’s Office since April 21, 2020 and a member

of its staff helped facilitate service of process pursuant to 28 U.S.C. § 1608(a)(3) and 28 U.S.C. §

1608(b)(3)(B) by dispatching a copy of the summons, complaint and notice of suit, together with

a translation of each into Chinese, to each of the five (5) named Defendants via Federal Express

and DHL on two (2) separate occasions.

                            THE FEDERAL EXPRESS ATTEMPTS

       4.      I prepared each package for the five (5) named Defendants that was sent to the

Clerk’s Office and maintained each Federal Express tracking number.

       5.      Since May 1, 2020, I have monitored the status of the deliveries almost daily on

Federal Express’s online tracking system.

       6.      A representative of Federal Express contacted Plaintiff Freedom Watch on or

around May 7, 2020.

       7.      On or around May 7, 2020, I spoke to a representative of Federal Express and he




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told me that in order to have the packages delivered, I would need to provide a “commercial

invoice” to Customs in China for each package. He provided me with an e-mail address where I

could send such commercial invoices.

       8.      On May 7, 2020, I wrote a cover letter for my supervisor addressed to “To Whom

It May Concern” regarding the five (5) packages on hold in Customs in China and attached a

“commercial invoice” for each Defendant. See Exhibit A. The cover letter and attachments were

sent to the e-mail address the Federal Express representative provided me.

       9.      Since, May 8, 2020, I have been contacted by Federal Express several times and

each time a representative told me that in order for Customs to release the packages, the recipient

must have knowledge of the package and confirm that he or she is expecting it.

       10.     Since May 8, 2020, I have provided Federal Express the contact information to

the best of my knowledge for each recipient.

       11.     On or around May 26, 2020, a Federal Express representative told me that she

could either (1) not reach the recipient or that (2) the recipient had refused the package.

       12.     On or around June 4, 2020, a Federal Express representative confirmed that each

recipient who she was able to make contact with had refused the package.

                               THE DHL EXPRESS ATTEMPTS

       13.     On June 17, 2020, I contacted the Clerk of this Court and informed her that the

Federal Express packages were undeliverable.

       14.     On that same day, I informed the Clerk of the Court that Freedom Watch would

attempt service via DHL and that it has had success in serving foreign states and defendants in

other cases using DHL.

       15.     On June 19, 2020, I sent five (5) packages with DHL Waybills to the Clerk of this




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Court.

         16.   The Clerk of the Court verified the accuracy of each package’s contents then

dispatched them to a DHL representative.

         17.   The Waybill number associated with the package sent to Defendant Director of

the Wuhan Institute of Virology, Shi Zhengli is: 7908925920. See Exhibit B.

         18.   The Waybill number associated with the package sent to Defendant the People’s

Republic of China is: 1717944893. See Exhibit C.

         19.   The Waybill number associated with the package sent to Defendant Major

General Chen Wei of the People’s Liberation Army is: 7908922523. See Exhibit D.

         20.   The Waybill number associated with the package sent to Defendant the People’s

Liberation Army is: 1757941032. See Exhibit E.

         21.   The Waybill number associated with the package sent to Defendant Institute of

Virology is: 7908914053. See Exhibit F.

         22.   Since June 19, 2020, I have been contacted by at least six (6) different DHL

representatives.

         23.   The DHL representatives explained to me that each Defendant had refused the

packages.

         24.   Attached as Exhibit G to this Declaration is an email from a DHL representative

explaining that Defendant Director of the Wuhan Institute of Virology, Shi Zhengli refused his

package.

         25.   Attached as Exhibit H to this Declaration is an email from a DHL representative

explaining that the Defendant the People’s Republic of China refused its package.

         26.   Attached as Exhibit I to this Declaration is an email from a DHL representative




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